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                                                                                                     Transmittal Number: 27493928
Notice of Service of Process                                                                            Date Processed: 08/18/2023

Primary Contact:           Walgreens Distribution
                           Corporation Service Company- Wilmington, DELAWARE
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Entity:                                       Walgreen Co.
                                              Entity ID Number 0501431
Entity Served:                                Walgreen Co
Title of Action:                              David Lynn Wawracz vs. Walgreen Co.
Matter Name/ID:                               David Lynn Wawracz vs. Walgreen Co. (14490214)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Hennepin County District Court, MN
Case/Reference No:                            Not Shown
Jurisdiction Served:                          Minnesota
Date Served on CSC:                           08/17/2023
Answer or Appearance Due:                     21 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Newmark Storms Dworak LLC
                                              612-455-7050

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                                                                                 EXHIBIT
                                                                                                                       A
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STATE OF MINNESOTA                                                  DISTRICT COURT

COUNTY OF HENNEPIN                                     FOURTH JUDICIAL DISTRICT

                                                             Case Type: Personal Injury

David Lynn Wawracz,

             Plaintiff,
      a
                                                                         SUMMONS
Walgreen Co., and USM, Inc.,

             Defendants.


To: Walgreen Co., 2345 Rice Street, Suite 230, Roseville, Minnesota 55113.

       1. YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The
Plaintiff's Complaint against you is attached to this Summons. Do not throw these papers
away. They are official papers that affect your rights. You must respond to this lawsuit
even though it may not yet be filed with the Court and there may be no court file number
on this Summons.
       2. YOU MUST REPLY WITHIN 21 DAYS TO PROTECT YOUR
RIGHTS. You must give or mail to the person who signed this Summons a written
response called an Answer within 21 days of the date on which you received this
Summons. You must send a copy of your Answer to the person who signed this Summons
located at: Ryan O. Vettleson, Newmark Storms Dworak LLC, 222 South 91 Street, Suite
470, Minneapolis, Minnesota 55402.
       3. YOU MUST RESPOND TO EACH CLAIM. The Answer is your written
response to the Plaintiffls Complaint. In your Answer you must state whether you agree
or disagree with each paragraph of the Complaint. If you believe the Plaintiff should not
be given everything asked for in the Complaint, you must say so in your Answer.

       4. YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN
RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS
SUMMONS. If you do not Answer within 21 days, you will lose this case. You will not
get to tell your side of the story, and the Court may decide against you and award the
Plaintiff everything asked for in the Complaint. If you do not want to contest the claims
stated in the Complaint, you do not need to respond. A default judgment can then be
entered against you for the relief requested in the Complaint.
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       5. LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you
do not have a lawyer, the Court Administrator may have information about places where
you can get legal assistance. Even if you cannot get legal help, you must still provide a
written Answer to protect your rights or you may lose the case.
      6. ALTERNATIVE DISPUTE RESOLUTION. The parties may agree to or be
ordered to participate in an alternative dispute resolution process under Rule 114 of the
Minnesota General Rules of Practice. You must still send your written response to the
Complaint even if you expect to use alternative means of resolving this dispute.


                                         NEWMARK STORMS DWORAK LLC


Dated: August 16, 2023                  s/Ryan O. Vettleson
                                        Jeffrey S. Storms, #0387240
                                        Ryan O. Vettleson, #0312915
                                        222 South 9th Street, Suite 470
                                        Minneapolis, MN 55402
                                        Phone: 612.455.7050
                                        Fax: 612.455.7051
                                        j eff(~
                                              a,newmarkstorms.com
                                        ryanknewmarkstorms.com

                                        Attorneys for Plaintiff




                 MINN. STAT. § 549.211 ACKNOWLEDGEMENT

      I, on behalf of Plaintiff, hereby acknowledge that sanctions may be imposed

pursuant to Minn. Statute § 549.211.


Dated: August 16, 2023                  s/ Ryan O. Vettleson
                                        Jeffrey S. Storms, #0387240
                                        Ryan O. Vettleson, #0312915
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    STATE OF MINNESOTA                                              DISTRICT COURT

    COUNTY OF HENNEPIN                                FOURTH JUDICIAL DISTRICT

                                                             Case Type: Personal Injury

    David Lynn Wawracz,
                  Plaintiff,                                 Case No.
    V.                                                       COMPLAINT
    Walgreen Co., and USM, Inc.,                             JURY TRIAL REQUESTED

                  Defendants.



           For his Complaint, Plaintiff David Lynn Wawracz ("Wawracz") hereby states and

    alleges upon knowledge, information, and belief:

                                            The Parties

           1.     Wawracz was at all times material hereto a 77-year-old resident of the City

    of Robbinsdale, County of Hennepin, State of Minnesota.

           2.     Walgreen Co. is a foreign corporation with a principal place of business in

    Deerfield, Illinois, but registered to do business in Minnesota. Its registered office

    address in Minnesota is 2345 Rice Street, Suite 230, City of Roseville, County of

    Ramsey, State of Minnesota. Walgreen Co. operates a national chain of Walgreens

    drugstores.

           3.      Walgreen Co. operates a Walgreens drug store at 4100 W. Broadway Ave,

    Robbinsdale, MN, where the subject incident occurred on December 5, 2021.

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           4.     USM, Inc. ("USM") is a foreign corporation with a principal place of

    business in Pennsylvania but registered to do business in Minnesota. Its registered office

    address in Minnesota is 2345 Rice Street, Suite 230, City of Roseville, County of

    Ramsey, State of Minnesota.

           5.     USM was at all times material hereto an HVAC and facility maintenance

    company hired by Walgreens for snow and ice removal service.

           6.     USM advertises online that "Others see it as snow removal, we see it as risk

    removal."

                                         Jurisdiction and Venue

           7.     This Court has jurisdiction over all parties.

           8.     Venue is proper pursuant to Minn. Stat. § 542.09 as the cause of action

    arose in Hennepin County.

                                                 The Incident

           9.     On the morning of December 5, 2021, at the Robbinsdale Walgreens, there

    was a sheet of ice on the sidewalk and parking lot surface that was not open and obvious.

           10.    The Robbinsdale Walgreens holds itself open to the public.

           11.    At approximately 9:15 a.m. on December 5, 2021, well after all

    precipitation had stopped and after Walgreen Co. and USM had had a reasonable

    opportunity to clear the snow and ice, Wawracz was walking on the paved sidewalk

    approaching the Robbinsdale Walgreens entrance.




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       12.       There was no salt on the ground to ensure that the sidewalk was safe to

walk on.

       13.       There was no other maintenance of the sidewalk to ensure the safety of the

customers.

       14.       There were no warning signs of ice or slippery conditions to alert customers

to the danger.

       15.       As Wawracz was walking, he slipped on some ice and fell sideways and

backwards.

       16.       Wawracz hit the right-top side of his head on the brick wall as he fell.

       17.       Wawracz also hit the back of his head on the cement sidewalk.

       18.       Wawracz was transported by ambulance to North Memorial Hospital in

Robbinsdale, MN.

       19.       According to the ambulance report, Wawracz appeared unsteady when

paramedics arrived. He was being held upright by a bystander.

       20.       Wawracz was admitted to North Memorial Hospital for an overnight stay

and discharged on December 6, 2021.

       21.       Wawracz was diagnosed with a bilateral falcine subarachnoid hemorrhage,

which is bleeding of the brain, a left elbow abrasion, and a one cm laceration to his scalp

requiring a staple as a result of this fall.

                                          Second Hosuitalization

       22.       In the following weeks, Wawracz suffered from headaches, neck pain,

severe confusion, and forgetfulness.

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      23.      On January 21, 2022, on orders from his primary care physician, Wawracz

had an MRI that revealed that his condition was worse than initially realized, showing

"new but subacute appearing bilateral subdural hematomas when compared to the prior

CT examination."

      24.      Wawracz's primary care physician directed him to the Emergency

Department, where Neurosurgery consulted and recommended that Wawracz be admitted

to the neuro ICU for further management.

      25.       As a result of Wawracz's physical state, he underwent a bilateral

craniotomy.

      26.       Below are images of Wawracz's incisions post-surgery:




       27.     Wawracz was not discharged from the hospital until January 27, 2022, and

continued to manage his injury for months afterwards with physical and occupational

therapy.

      28.       As a direct and proximate result of this incident, Wawracz has incurred

more than $130,000 in medical bills.
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       29.    Defendants violated their duty to use reasonable care to protect Wawracz

and other customers from an unreasonable risk of harm caused by the conditions of the

premises.

       30.    Defendants were or should have been aware of the icy conditions that

existed on the sidewalk on the premises.

       31.    Defendants failed to exercise the reasonable care required under the

circumstances to ensure the safety of persons lawfully entering Walgreens's premises and

utilizing the sidewalk.

       32.    Defendants failed to warn Walgreeris's customers and other pedestrians of

the dangerous conditions of the sidewalk.

       33.    As a direct and proximate result of Defendants' negligence, Wawracz

continues to suffer from symptoms following the slip and fall, including confusion, major

memory loss, exhaustion, reduced mental capacity, and emotional distress

       WHEREFORE, PlaintiffDavid Lynn Wawracz prays for judgement as follows:

       1.     A money judgement against the defendants for an amount in excess of Fifty

Thousand ($50,000) Dollars, together with pre-and post judgment interest, costs, and

disbursements.

       2.     For such other and further relief as this court deems just and equitable.




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                                        NEWMARK STORMS DWORAK LLC



      Dated: August 16, 2023                /s/ Ryan O. Vettleson
                                            Jeffrey S. Storms, #387240
                                            Ryan O. Vettleson, #312915
                                            222 South 9th Street, Suite 470
                                            Minneapolis, MN 55402
                                            Phone: 612.455.7055
                                            Fax: 612.455.7051
                                            jeff@newmarkstorrns.com
                                            ryan@newmarkstorms.com




                 MINN. STAT. § 549.211 ACKNOWLEDGEMENT

      I, on behalf of Plaintiff, hereby acknowledge that sanctions may be imposed

pursuant to Minn. Statute § 549.211.


Dated: August 16, 2023                  /s/ Ryan O. Vettleson
                                        Jeffrey S. Storms, #0387240
                                        Ryan O. Vettleson, #0312915
